            Case 2:10-cr-00108-MCE Document 84 Filed 06/21/11 Page 1 of 2


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7
8                 IN THE UNITED STATES DISTRICT COURT FOR THE
9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    )           CR No. S. 10-108 MCE
                                  )
12             Plaintiff,         )
                                  )
13        v.                      )
                                  )
14   LUIS ALBERTO RUBIO,          )           STIPULATION AND ORDER
                                  )
15                                )
               Defendant.         )
16   ____________________________ )
17         IT IS HEREBY stipulated between the United States of America
18   through its undersigned counsel, Carolyn K. Delaney, Assistant
19   United States Attorney, together with the defendant and his
20   counsel, that the sentencing hearing for defendant Rubio
21   currently set for August 4, 2011, be advanced to July 28, 2011 at
22   10:00 a.m.    At the hearing, the parties anticipate that the
23   defendant will withdraw his guilty plea, and enter a new guilty
24   plea to a superseding information.
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26   ///
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           Case 2:10-cr-00108-MCE Document 84 Filed 06/21/11 Page 2 of 2


1    The parties are also requesting that the defendant be sentenced
2    on July 28, and to accomplish that, respectfully request that the
3    Court order the Probation Office to prepare a Pre-Plea
4    Presentence report reflecting the new charge to which the
5    defendant will plead guilty.
6    Dated: June 8, 2011                      Respectfully submitted,
7                                             BENJAMIN B. WAGNER
                                              U.S. Attorney
8
                                              /s/ Carolyn K. Delaney
9
                                              CAROLYN K. DELANEY
10                                            Assistant U.S. Attorney
11   Dated: June 8, 2011                      /s/ Nina Marino
12                                            NINA MARINO
                                              Attorney for
13                                            LUIS ALBERTO RUBIO
14
15                                    ORDER
16        IT IS HEREBY ORDERED:     That the sentencing hearing currently
17   scheduled for August 4, 2011 is advanced to July 28, 2011 at
18   10:00 a.m.   It is further ordered that the Probation Office
19   prepare a Pre-Plea Presentence Report reflecting the new plea by
20   July 28, 2011.
21
     Dated: June 21, 2011
22
23                                    _____________________________
24                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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